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  ruling, the parties informed the Court that they agreed to have the matter submitted
  without oral argument. The hearing set for September 10, 2021, is therefore
  VACATED, and for the following reasons, the motion is GRANTED.

                                   BACKGROUND

         Plaintiffs Prestige, Overnight, and Amerilogistics are transportation
  companies operating fleets of trucks across the country. Dkt. No 1 ¶¶ 18-22.
  Prestige is solely owned by Lubomir Anguelov, “a USCIS work-authorized non-
  citizen with a pending application for adjustment of status to that of lawful
  permanent resident (green card).” Id. ¶¶ 16-17. Overnight and Amerilogistics are
  solely owned by Nickolay Dinkov, a non-citizen “with a pending application for
  EB5 employment creation under 8 U.S.C. § 1153(a)(5).” Id. ¶¶ 19, 22, 87.

         In response to the COVID-19 pandemic in early 2020, Congress passed the
  CARES Act, which provided billions of dollars of emergency economic assistance
  to individuals, businesses, and other entities. Relevant here, 15 U.S.C. § 9009(b)
  expanded eligibility for small business loans through the EIDL program, providing
  that “[d]uring the covered period [from January 31, 2020 through December 31,
  2021], in addition to small business concerns, private nonprofit organizations, and
  small agricultural cooperatives, an eligible entity shall be eligible for a loan made
  under section 636(b)(2) of this title.” The statute defines “eligible entity” to
  include “a business with not more than 500 employees.” Id. § 9009(a)(2)(A).

         Anguelov and Dinkov filed electronic applications to obtain EIDL
  emergency loans on behalf of Prestige, Overnight, and Amerilogistics, and
  although each Plaintiff received an EIDL advance grant, all three applications were
  eventually denied after Anguelov and Dinkov disclosed their immigration status.
  Dkt. No. 1 ¶¶ 71-96, 106. Plaintiffs allege a variety of claims asserting that they
  are eligible for EIDL loans under the CARES Act and that the SBA lacks authority
  to exclude them based on the immigration status of their owners. Id. ¶¶ 134-227.
  Specifically, Plaintiffs allege causes of action for (1) ultra vires agency action,
  (2) invalid agency action under the Administrative Procedure Act (APA),
  (3) arbitrary and capricious action under the APA, (4) failure to carry out a
  ministerial duty under the APA, (5) failure to follow the APA’s notice and
  comment procedure, (7) violation of the Due Process Clause, and (8) violation of




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  the Equal Protection clause, and Plaintiffs seek damages and, in the alternative,
  mandamus relief. Id. 2
         Plaintiffs sought a temporary restraining order, which the Court denied.
  Dkt. Nos. 11, 22. Plaintiffs appealed the denial, and the Ninth Circuit affirmed.
  Dkt. No. 35. In response to Defendants’ Rule 12(b)(6) motion to dismiss,
  Plaintiffs objected that Defendants had not filed the administrative record, and the
  Court denied Defendants’ motion, explaining that “[g]iven the nature of Corporate
  Plaintiffs’ challenge to the SBA’s actions—and in the absence of a response from
  the government on the issue of the administrative record—the viability of the APA
  Claims may be better raised on a summary judgment motion with the benefit of an
  administrative record.” Dkt. No. 43 at 8. Defendants filed the administrative
  record and now move for judgment on the pleadings, arguing that the CARES Act
  did not foreclose the SBA from applying preexisting immigration-related EIDL
  eligibility criteria. Dkt. Nos. 47, 48.

                                     DISCUSSION

           A.     Legal Standard

         Under Federal Rule of Civil Procedure 12(c), “[a]fter the pleadings are
  closed—but early enough not to delay trial—a party may move for judgment on
  the pleadings.” A court may grant judgment on the pleadings if, “taking all the
  allegations in the pleading as true, the moving party is entitled to judgment as a
  matter of law.” McSherry v. City of Long Beach, 423 F.3d 1015, 1021 (9th Cir.
  2005). Analysis under Rule 12(c) is “substantially identical” to analysis under
  Rule 12(b)(6). Chavez v. United States, 683 F.3d 1102, 1108 (9th Cir. 2012).
  Under this standard, judgment is appropriate for the defendant where the complaint
  either fails to allege a “cognizable legal theory or fails to allege sufficient factual
  support for its legal theories.” Caltex Plastics, Inc. v. Lockheed Martin Corp., 824
  F.3d 1156, 1159 (9th Cir. 2016) (applying Rule 12(b)(6)).

        In evaluating a motion on the pleadings, courts may rely on undisputed facts
  contained in materials subject to judicial notice. Reyn’s Pasta Bella, LLC v. Visa
  USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006); see Fed. R. Evid. 201(b).
  Without objection, the Court takes judicial notice of the SBA’s Standard Operating
  Procedure cited by both sides.


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   Because Count Six was alleged only by Plaintiff STAM, the Court dismissed it
  after finding that STAM lacked standing. Dkt. No. 43 at 7 n.7.

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           B.     Law of the Case

         Plaintiffs first argue that under the law of the case doctrine, the Court’s Rule
  12(b)(6) ruling precludes Defendants from reurging the same arguments in a Rule
  12(c) motion. The Court, however, did not previously rule on the merits of
  Defendants’ arguments, and in any event, “[t]he law of the case doctrine does not
  preclude a court from reassessing its own legal rulings in the same case.” Askins v.
  DHS, 899 F.3d 1035, 1042 (9th Cir. 2018). Moreover, Defendants have now filed
  the administrative record (although they do not rely on it), and Plaintiffs in the
  Rule 26(f) report agree that “the nature of this case involves primarily legal rather
  than factual issues,” “the factual issues related to the individual claims are largely
  undisputed,” and “the only discovery needed would go to the issues of numerosity
  for purposes of Rule 23 and disparate treatment of applicants for the various
  CARES Act funds.” Dkt. No. 49 at 4. Plaintiffs thus have not identified any basis
  for forcing Defendants to refile their motion as a summary judgment motion.

           C.     Plaintiffs’ Eligibility for EIDL Loans

         The main thrust of Plaintiffs’ case is that the SBA lacks authority to exclude
  them from eligibility for the EIDL program on the basis of their immigration
  status. Plaintiffs contend that the phrase “an eligible entity shall be eligible for a
  loan made under section 636(b)(2) of this title” in § 9009(b) “leaves no authority
  for Defendants to graft on additional eligibility requirements and to categorically
  preclude corporate entities that fall under the CARES Act’s definition of ‘eligible
  entities’ from Emergency EIDL consideration.” Dkt. No. 50 at 14-15. Defendants
  respond that nothing in the CARES Act displaced SBA’s authority to apply its
  preexisting rules for loans under § 636(b)(2). At least since 2018, those rules have
  provided:

           Aliens: U.S. citizens, non-citizen nationals, and qualified aliens are
           eligible for disaster loans. Lawful presence in the United States,
           alone, is not sufficient to establish that the individual is a qualified
           alien. Individuals are not eligible unless the legal basis upon which
           the individual has been admitted is a covered category. Refer to
           Appendix 7 for additional information.

  SBA Standard Operating Procedure 50 30 9, Disaster Assistance Program (SOP) at
  18 (available at https://www.sba.gov/document/sop-50-30-9-disaster-assistance-
  program).


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        Appendix 7, in turn, adopts the definition of “qualified alien” in 8 U.S.C.
  § 1641(b) and observes that 8 U.S.C. § 1611(a) precludes an alien who is not a
  “qualified alien” from obtaining any Federal public benefit:

           Qualified Alien: U.S.C. Title § 8 states that an alien who is not a
           qualified alien is not eligible for any Federal public benefit, including
           a loan provided by an agency of the United States (8 U.S.C. § 1611(a)
           and (c)). 8 U.S.C § 1641(b) defines a qualified alien:
           The term “qualified alien” means an alien who, at the time the alien
           applies for, receives, or attempts to receive a Federal public benefit,
           is:
           1.     An alien who is lawfully admitted for permanent residence
                  under the Immigration and Nationality Act [8 U.S.C. 1101 et
                  seq.],
           2.     An alien who is granted asylum under § 208 of such Act [8
                  U.S.C. 1158],
           3.     A refugee who is admitted to the United States under § 207 of
                  such Act [8 U.S.C. § 1157].
           4.     An alien who is paroled into the United States under § 212(d)
                  (5) of such Act [“8 U.S.C. 1182” (d)(5)] for a period of at least
                  1 year,
           5.     An alien whose deportation is being withheld under § 243(h) of
                  such Act [8 U.S.C. 1253] (as in effect immediately before the
                  effective date of § 307 of division C of Public Law 104–208) or
                  § 241(b)(3) of such Act [8 U.S.C. 1231 (b)(3)] (as amended by
                  § 305(a) of division C of Public Law 104–208),
           6.     An alien who is granted conditional entry pursuant to § 203(a)
                  (7) of such Act [8 U.S.C. 1153 (a)(7)] as in effect prior to April
                  1, 1980; [1] or
           7.     An alien who is a Cuban and Haitian entrant (as defined in
                  § 501(e) of the Refugee Education Assistance Act of 1980).

  SOP at 172-173 (bracketed content in original).

         The SBA’s preexisting rules also address alien-owned entities, providing:
  “Alien-owned corporations, partnerships, and [Limited Liability Entities] properly
  registered and licensed in the state where the disaster occurred are eligible. If any

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  member, partner, or shareholder, owning 20 percent or more of the applicant
  business is in the USA they must be a qualified alien.” Id. at 19. It is undisputed
  that Anguelov and Dinkov are not “qualified aliens” under the § 1641(b) definition
  adopted in the SOP.

         As recognized in the SOP, the Personal Responsibility and Work
  Opportunity Reconciliation Act (PRWORA) provides at 8 U.S.C. § 1611(a) that
  “[n]otwithstanding any other provision of law and except as provided in subsection
  (b), an alien who is not a qualified alien (as defined in section 1641 of this title) is
  not eligible for any Federal public benefit (as defined in subsection (c)).”
  Subsection (c) defines “Federal public benefit” to include “any grant, contract,
  loan, professional license, or commercial license provided by an agency of the
  United States or by appropriated funds of the United States,” id. § 1611(c)(1)(A),
  and Plaintiffs make no argument that the EIDL loans for which they applied fall
  outside this broad definition. Thus, unless the CARES Act displaces PRWORA,
  Plaintiffs were statutorily ineligible to receive EIDL loans under PRWORA, and
  the SBA was not only authorized but required to deny their applications.

         Plaintiffs raise three main arguments that the SBA’s immigration status rule
  is unlawful and inconsistent with the purpose and text of the CARES Act. First,
  they argue that the rule did not preexist the CARES Act but rather is a new
  criterion applied only to CARES Act IEDL loans. Although the SBA’s
  communications with Plaintiffs during their application process did not reference
  PRWORA, both PRWORA and the SOP adopting its prohibition on non-qualified
  aliens receiving benefits predate the CARES Act and therefore required the SBA to
  deny Plaintiffs’ applications.

         Second, Plaintiffs rely on three matters outside the pleadings which they
  contend are “official agency action” contrary to Defendants’ position here: (1) a
  White House statement about changes to the Payroll Protection Program (PPP),
  (2) an SBA email about eligibility for the PPP, and (3) a Department of Education
  amendment to its rules governing eligibility for grants under the Higher Education
  Economic Relief Fund (HEERF). Even assuming these documents are properly
  before the Court on a Rule 12(c) motion, none of them addresses the IEDL
  program at issue here.

         Third, Plaintiffs contend that the SBA’s consideration of immigration status
  is incompatible with the text and context of the CARES Act, arguing that the
  phrase “an eligible entity shall be eligible for a loan” in § 9009(b) is mandatory


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  language that does not allow the SBA to preclude otherwise eligible entities based
  on criteria (like immigration status) not addressed in § 9009.

         Plaintiffs have not shown that Congress precluded application of PRWORA
  to the EIDL program in enacting the CARES Act. PRWORA prohibits non-
  qualified aliens from receiving any Federal public benefits “[n]otwithstanding any
  other provision of law,” 8 U.S.C. § 1611(a). Such clauses “broadly sweep aside
  potentially conflicting laws.” United States v. Novak, 476 F.3d 1041, 1046 (9th
  Cir. 2007). Section 9009 makes no reference to immigration status whatsoever,
  much less an express statement that the restrictions in § 1611 do not apply.
  Plaintiffs’ suggestion that the CARES Act by its silence on immigration status in
  § 9009 implicitly overruled PRWORA is unavailing, for reasons explained
  persuasively in Poder in Action v. City of Phoenix, 481 F. Supp. 3d 962 (D. Ariz.
  2020). There, the City of Phoenix used relief funds it received under the CARES
  Act to create a program for assisting eligible residents with utility, rent, and
  mortgage obligations, but concluded that PRWORA precluded it from extending
  these benefits to aliens who were not “qualified aliens.” Plaintiffs challenged this
  exclusion and sought a preliminary injunction. The court denied their motion,
  rejecting their argument that PRWORA was inapplicable:

           At bottom, then, Plaintiffs’ argument is that the CARES Act should be
           construed as implicitly overruling whatever restrictions on the receipt
           of CRF funds might otherwise arise from PRWORA. The difficulty
           with this argument is that the Ninth Circuit applies “extremely strict
           standards for finding an implied repeal,” because “repeals by
           implication are not favored and will not be presumed unless the
           intention of the legislature to repeal is clear and manifest.” Ledezma-
           Galicia v. Holder, 636 F.3d 1059, 1069 (9th Cir. 2010) (citation and
           internal quotation marks omitted). Section 5001 cannot be said to
           evince a “clear and manifest” intention to override PRWORA. Its
           silence as to who may receive CRF funds, although perhaps creating
           some ambiguity, can easily be viewed as acquiescence to PRWORA’s
           longstanding limitations. A finding of implicit repeal would be
           inappropriate in these circumstances.

  Id. at 971.3

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   The court distinguished cases enjoining the Department of Education from
  applying immigration-related eligibility restrictions in connection with HEERF,
  noting that those decisions depended on the statutory definition of “students,”

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          Plaintiffs’ broader textual argument—that the SBA is precluded from
  applying any preexisting restrictions not contained in § 9009—has also been
  persuasively rejected in the related context of the PPP program. In Pharaohs GC,
  Inc. v. SBA, 990 F.3d 217 (2d Cir. 2021), the Second Circuit affirmed the denial of
  a preliminary injunction sought by nude-dancing establishments that argued they
  had been improperly denied PPP funds. The plaintiff argued that “‘any business
  concern . . . shall be eligible’ means that every ‘business concern’ with no more
  than 500 employees is eligible for PPP loans. ” Id. at 226. The Second Circuit
  found this position “not tenable,” explaining that “[t]he PPP was not created as a
  standalone program but was added into the existing § 7(a) program, which subjects
  it to existing conditions and regulations, as well as existing SBA authority.” Id. at
  227 (quoting In re Gateway Radiology Consultants, P.A., 983 F.3d 1239, 1256
  (11th Cir. 2020)). Observing that “[w]e presume that Congress legislates against
  the backdrop of existing law,” the Second Circuit concluded that the relevant
  section of the CARES Act “must be understood as simply raising the employee
  threshold defining eligibility for small business relief to 500 and including a few
  other kinds of employers in the Program, like nonprofit organizations and sole
  proprietors. It does not require the Administrator to make eligible all businesses
  below that threshold.” Id. at 227-28. Similarly, Plaintiffs here have not
  established that the CARES Act generally precludes the SBA from applying any
  criteria not included in the § 9009(a)(2) definition of “eligible entity.”

        Furthermore, accepting Plaintiffs’ argument would lead to absurd results.
  Section 9009 defines “eligible entity” as “(A) a business with not more than 500
  employees; (B) any individual who operates under a sole proprietorship, with or
  without employees, or as an independent contractor; (C) a cooperative with not
  more than 500 employees; (D) an ESOP (as defined in section 632 of this title)


  which was not at issue in Poder in Action and is not at issue here. See Poder in
  Action, 481 F. Supp. 3d at 972 (distinguishing Noerand v. Devos, 474 F. Supp. 3d
  394 (D. Mass. 2020) and Oakley v. Devos, No. 20-CV-03215-YGR, 2020 WL
  3268661 (N.D. Cal. June 17, 2020)); see also Washington v. DeVos, 2020 WL
  4275041, *6 (E.D. Wash. 2020) (concluding that CARES ACT provision
  establishing HEERF did not implicitly overrule PRWORA because the “statutory
  language discrepancies” in various sections of the CARES Act concerning
  recipient eligibility “are more likely attributable to inartful drafting under the
  constraints of a global pandemic rather than any clearly expressed intent to
  override a longstanding provision of federal law with an overarching
  ‘notwithstanding’ clause”).

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  with not more than 500 employees; (E) a tribal small business concern, as
  described in section 657a(b)(2)(C) of this title, with not more than 500 employees;
  or (F) an agricultural enterprise (as defined in section 647(b) of this title with not
  more than 500 employees.” 15 U.S.C. § 9009(a)(2). Under Plaintiffs’ reading, the
  SBA can only consider whether an applicant falls into any of the above categories.
  Thus, as long as a business has fewer than 500 employees, the SBA cannot deny its
  EIDL loan application because, for example, it is engaged in criminal activity, it is
  a foreign business with no connection to the United States, or the SBA concludes
  that it would be unable to pay back the loan, since none of those conditions are
  referenced in § 9009(a)(2). Plaintiffs neither suggest any limitations to their
  absolute interpretation nor provide any plausible basis for concluding that
  Congress eliminated all preexisting limitations on EIDL loan eligibility in passing
  the CARES Act.

         In sum, Plaintiffs have not established that § 9009 through its silence on the
  issue of immigration status expressed Congress’s “clear and manifest” intent to
  repeal by implication PRWORA’s broad restrictions that apply “notwithstanding
  any other provision of law.” As a matter of law, Plaintiffs were therefore ineligible
  to receive Federal public benefits through the EIDL program, and the SBA
  properly denied their applications. Plaintiffs’ claims for ultra vires agency action
  and for substantive violations of the APA in Counts One through Four are
  DISMISSED.

           D.     Notice and Comment

         Plaintiffs allege in Count Five that Defendants violated the APA by not
  complying with the notice-and-comment rulemaking requirements in 5 U.S.C.
  § 553 and allege in Count Seven that the lack of any notice or meaningful
  opportunity to comment or establish entitlement to CARES Act benefits violated
  their Fifth Amendment right to due process. The immigration-related restrictions
  on Plaintiffs’ eligibility come from PRWORA and the SOP, both of which predate
  the CARES Act, and Plaintiffs do not argue that either Congress’s enactment of the
  PRWORA or the SBA’s adoption of the SOP violated the APA or the Due Process
  Clause. Accordingly, Counts Five and Seven are DISMISSED.

           E.     Equal Protection

         Finally, Plaintiffs allege an Equal Protection violation, asserting that they are
  just as likely to suffer economic harm as companies created by U.S. citizens or
  legal permanent residents. “Although aliens are protected by the Due Process and

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  Equal Protection Clauses, this protection does not prevent Congress from creating
  legitimate distinctions either between citizens and aliens or among categories of
  aliens and allocating benefits on that basis.” Korab v. Fink, 797 F.3d 572, 579 (9th
  Cir. 2014) (citing Mathews v. Diaz, 426 U.S. 67, 78 (1976)). Plaintiffs have cited
  no authority to support their contention that Congress’s and the SBA’s decisions to
  direct limited relief funds to companies owned by U.S. citizens and lawful
  permanent residents lack a rational basis. Count Eight is therefore DISMISSED.

                                   CONCLUSION

         PRWORA and the SBA’s 2018 SOP render Plaintiffs categorically ineligible
  for EIDL loans, and Plaintiffs have not shown that Defendants violated the APA or
  Plaintiffs’ constitutional rights in administering the EIDL program consistent with
  the requirements of PRWORA and the SOP. Defendants’ motion for judgment as
  a matter of law is therefore GRANTED and Plaintiffs’ claims are DISMISSED on
  the merits with prejudice. A Final Judgment will be entered separately.




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